 4:24-cr-03012-SMB-JMD            Doc # 29   Filed: 04/22/24   Page 1 of 2 - Page ID # 53




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                  4:24CR3012

       vs.
                                                                   ORDER
TIMOTHY H. MAISNER,

                     Defendant.


      Defendant has moved to continue the pretrial motion deadline, (Filing No. 28),
because Defendant has recently received additional discovery from the government and
needs to review that discovery. The motion to continue is unopposed. Based on the
showing set forth in the motion, the court finds the motion should be granted.
Accordingly,

      IT IS ORDERED:


      1)     Defendant’s motion to continue, (Filing No. 28), is granted. The parties are
             advised that any additional requests for a continuance will require a
             conference with the undersigned magistrate judge.

      2)     Pretrial motions and briefs shall be filed on or before May 22, 2024.

      3)     The conference call previously scheduled to be held on April 30, 2024, is
             continued. A telephonic conference with counsel will be held before the
             undersigned magistrate judge at 9:15 a.m. on May 29, 2024 to discuss
             setting any pretrial motion hearing needed, a change of plea hearing, or the
             date of the jury trial and deadlines for disclosing experts as required under
             Rule 16. Counsel for all parties shall use the conferencing instructions
             provided by the court to participate in the call.

      4)     The ends of justice served by granting the motion to continue outweigh the
             interests of the public and the defendant in a speedy trial, and the additional
             time arising as a result of the granting of the motion, the time between
             today’s date and May 29, 2024 shall be deemed excludable time in any
             computation of time under the requirements of the Speedy Trial Act,
             because although counsel have been duly diligent, additional time is
             needed to adequately prepare this case for trial and failing to grant
             additional time might result in a miscarriage of justice. 18 U.S.C. §
             3161(h)(1) & (h)(7). Failing to timely object to this order as provided under
4:24-cr-03012-SMB-JMD       Doc # 29      Filed: 04/22/24   Page 2 of 2 - Page ID # 54




           this court’s local rules will be deemed a waiver of any right to later claim the
           time should not have been excluded under the Speedy Trial Act.

    Dated this 22nd day of April, 2024.

                                               BY THE COURT:

                                               s/ Jacqueline M. DeLuca
                                               United States Magistrate Judge
